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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )                  8:13CR233
                      Plaintiff,                 )
                                                 )
       vs.                                       )                    ORDER
                                                 )
JASON ARMSTRONG and                              )
TAMIKA PAYNE,                                    )
                                                 )
                      Defendants.                )

       This matter is before the court on the motion for an extension of time by defendant Tamika
Payne (Payne) (Filing No. 21). Payne seeks until October 5, 2013, in which to file pretrial motions
in accordance with the progression order. Payne has filed an affidavit wherein she consents to
the motion and acknowledges she understands the additional time may be excludable time for
the purposes of the Speedy Trial Act (Filing No. 22).          Payne's counsel represents that
government's counsel has no objection to the motion. Upon consideration, the motion will be
granted to October 7, 2013, as to both defendants.


       IT IS ORDERED:
       Defendant Payne's motion for an extension of time (Filing No. 21) is granted. Payne and
Armstrong are given until on or before October 7, 2013, in which to file pretrial motions pursuant
to the progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendants in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between July 31, 2013, and
October 7, 2013, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendants' counsel require additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 31st day of July, 2013.
                                                     BY THE COURT:

                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
